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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

UNITED STATES OF AMERICA

vs.                                         Case No. 2:03-cr-56-FTM-29DNF

JEFFREY ALAN READON


                               OPINION AND ORDER
      This matter is before the Court on defendant Jeffrey Alan
Readon’s pro se Motion for Modification or Reduction of Sentence
Pursuant to 18 U.S.C. § 3582(c)(2) (Doc. #194) and supporting
Memorandum (Doc. #195), both filed on March 10, 2008.              Defendant
seeks a reduction in his sentence in light of Amendment 706 to the
United States Sentencing Guidelines, which reduces the base offense
level for cocaine base offenses by two levels.
      Title   18     U.S.C. § 3582(c) gives the court discretionary
authority     to    reduce    the   term   of   imprisonment   portion   of   a
defendant’s        sentence   under    certain    circumstances.     Section
3582(c)(2) provides in pertinent part:
      (c) The court may not modify a term of imprisonment once
      it has been imposed except that -
      . . .
      (2) in the case of a defendant who has been sentenced to
      a term of imprisonment based on a sentencing range that
      has subsequently been lowered by the Sentencing
      Commission pursuant to 28 U.S.C. 994(o), upon motion of
      the defendant or the Director of the Bureau of Prisons,
      or on its own motion, the court may reduce the term of
      imprisonment, after considering the factors set forth in
      section 3553(a) to the extent that they are applicable,
      if such a reduction is consistent with applicable policy
      statements issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(2).             The relevant United States Sentencing
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Guidelines (U.S.S.G.) policy statement is U.S.S.G. § 1B1.10, as

amended by Amendment 713 and effective March 3, 2008.

        Reading 18 U.S.C. § 3582(c)(2) in conjunction with U.S.S.G. §

1B1.10(a)(1), the general requirements a defendant must establish

to be eligible for a reduction of the term of imprisonment are: (1)

Defendant had been sentenced to a term of imprisonment; (2) the

term of imprisonment was based on a sentencing range that has

subsequently been lowered by the Sentencing Commission pursuant to

28 U.S.C. § 994(o); (3) defendant is still serving the term of

imprisonment; and (4) the amendment to the Sentencing Guidelines

has been made retroactive by being listed in U.S.S.G. § 1B1.10(c)1.

Even    if   generally     eligible    for     a   reduction       in    the   term   of

imprisonment, a defendant must show that a reduction is consistent

with the policy statement in U.S.S.G. § 1B1.10.                    A reduction of a

term    of   imprisonment       is   not   consistent       with    the    Sentencing

Guidelines policy statement, and therefore is not authorized by §

3582(c)(2), if none of the retroactive amendments is applicable to

defendant,     U.S.S.G.     §   1B1.10(a)(2)(A),       or    if    the    retroactive

amendment     does   not    have     the   effect    of     lowering      defendant’s

applicable guideline range.           U.S.S.G. § 1B1.10(a)(2)(B).              In this

case defendant Readon is not eligible for a sentence reduction

because the application of Amendment 706 does not have the effect

of lowering his applicable guideline range.


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       United States v. Armstrong, 347 F.3d 905, 909 (11th Cir. 2003).

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      At the original sentence, because both            cocaine base and

cocaine were involved in the offense of conviction, the drugs were

converted to their marijuana equivalent, added together, and the

combined offense level was determined based on the Drug Quantity

Tables. There were 84 grams of cocaine base, which had a marijuana

equivalent of 1,680 kilograms (20 kilograms of marijuana per gram

of cocaine base); there were 989 grams of cocaine, which had a

marijuana equivalent of 197 kilograms (200 grams of marijuana per

gram of cocaine); the total marijuana equivalent was therefore

1,877 kilograms.     Under U.S.S.G. § 2D1.1(c)(4), this resulted in

the Base Offense Level of 32.            Because of a two level upward

adjustment for obstruction of justice, the Total Offense Level was

34.

      Applying Amendment 706, the Court determines that defendant’s

Base Offense Level remains at 32 and the Total Offense Level

remains at 34.     Because both cocaine base and other controlled

substances were involved in the offense of conviction, the Court

follows the following five steps outlined in U.S.S.G. § 2D1.1

Application Note 10(D)(i): (1) Determine the base offense level for

the quantity of cocaine base involved in the offense, U.S.S.G. §

2D1.1 Application Note 10(D)(i)(I); (2) determine the marijuana

equivalency for the cocaine base by reference to the table in

U.S.S.G. § 2D1.1 Application Note 10(D)(i)(II); (3) covert the

quantity of cocaine base involved in the offense to its equivalent

quantity   of   marijuana,     U.S.S.G.    §   2D1.1   Application     Note

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10(D)(i)(II); (4) determine the combined marijuana equivalency for

the other controlled substance(s) involved in the offense, U.S.S.G.

§ 2D1.1 Application Note 10(D)(i)(III); and (5) add the quantity of

marijuana determined for all controlled substances and look up the

total in the Drug Quantity Table to obtain the combined base

offense level for all the controlled substances involved in the

offense.      U.S.S.G. § 2D1.1 Application Note 10(D)(i)(IV)

     There were 84 grams of cocaine base involved in this offense,

which   now    has   a    Base   Offense       Level   of   30.    The     marijuana

equivalency for cocaine base at a Base Offense Level of 30 is 14

kilograms of marijuana per gram of cocaine base. U.S.S.G. § 2D1.1,

Application     Note     10(D)(i)(II).          This   results    in   a   marijuana

equivalent of 1,176 kilograms for the 84 grams of cocaine base.

The marijuana equivalency for cocaine is 200 grams of marijuana per

gram of cocaine.         U.S.S.G. § 2D1.1, Application Note 10(E).             There

were 989 grams of cocaine, which results in a marijuana equivalent

of 197 kilograms. Adding the marijuana equivalents for the cocaine

base and the cocaine in this case results in a total marijuana

equivalent of 1,373 kilograms.             Under U.S.S.G. § 2D1.1(c)(4), at

least 1,000 kilograms of marijuana but less than 3,000 kilograms of

marijuana results in the Base Offense Level of 32.                 Since the Base

Offense Level is not affected by the application of the amendment,

a reduction cannot be made pursuant to Amendment 706.

     Defendant also asserts that the Court should reduce the

sentence pursuant to United States v. Booker, 543 U.S. 220 (2005)

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and Kimbrough v. United States, 128 S. Ct. 558 (2007).            The Court

declines to do so.     Proceedings under § 3582(c) and § 1B1.10 “do

not constitute a full resentencing of the defendant,”            U.S.S.G. §

1B1.10(a)(3), or a de novo resentencing.        United States v. Moreno,

421 F.3d 1217, 1220 (11th Cir. 2005), cert. denied, 547 U.S. 1050

(2006); United States v. Bravo, 203 F.3d 778, 781 (11th Cir. 2000);

United States v. Cothran, 106 F.3d at 1562.         The Court does not re-

examine the other sentencing determinations made at the original

sentencing.    Cothran, 106 F.3d at 1562-63; Bravo, 203 F.3d at 781.

Additionally, the Eleventh Circuit has already stated that “Booker

is inapplicable to § 3582(c)(2) motions.”            Moreno, 421 F.3d at

1220.

     Because    defendant   is   proceeding   pro    se,   the   Court   must

construe his request for post-conviction relief liberally, United

States v. Brown, 117 F.3d 471, 475 (11th Cir. 1997), and consider

all possible bases of authority even though none may be identified

by defendant, United States v. Jordan, 915 F.2d 622, 624-25 (11th

Cir. 1990), cert. denied, 499 U.S. 979 (1991).        The Court must look

to the specific parameters of federal statutes and the Federal

Rules of Criminal Procedure. United States v. Diaz-Clark, 292 F.3d

1310, 1315 (11th Cir. 2002), cert. denied, 539 U.S. 951 (2003).

The Court finds no other basis for jurisdiction to modify or reduce

the sentence.

     Accordingly, it is now


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     ORDERED AND ADJUDGED:

     Defendant Jeffrey Alan Readon’s pro se Motion for Modification

or Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2) (Doc.

#194) is DENIED.

     DONE AND ORDERED at Fort Myers, Florida, this           24th    day of

March, 2008.




Copies:
AUSA Casas
Jeffrey Alan Readon
U.S. Probation
U.S. Marshal




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